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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             08/30/2023
                                                                       :
MULTI ACCESS LIMITED,                                                  :
                                                                       :
                                    Plaintiff,                         :
                                                                       :    20-cv-7397 (LJL)
                  -v-                                                  :
                                                                       :   MEMORANDUM AND
 GUANGZHOU BAIYUNSHAN                                                  :       ORDER
 PHARMACEUTICAL HOLDINGS CO., LTD.                                     :
 (AKA GUANGZHOU BAIYUNSHAN                                             :
 PHARMACEUTICAL HOLDING CO., LTD.);                                    :
 WLJ (AMERICA) CO. INC.; GUANGZHOU                                     :
 WANGLAOJI GREAT HEALTH CO., LTD.;                                     :
 GUANGZHOU WANG LAO JI GREAT                                           :
 HEALTH INDUSTRY CO., LTD. (AKA WLJ                                    :
 GREAT HEALTH INDUSTRY CO., LTD.);                                     :
 GUANGZHOU WANGLAOJI                                                   :
 PHARMACEUTICAL CO., LTD.;                                             :
 GUANGZHOU WANG LAO JI GREAT                                           :
 HEALTH ENTERPRISE DEVELOPMENT CO.,                                    :
 LTD. (AKA WLJ GREAT HEALTH                                            :
 ENTERPRISES DEVELOPMENT CO., LTD.);                                   :
 GUANGZHOU PHARMACEUTICAL                                              :
 HOLDINGS LTD. (AKA GUANGZHOU                                          :
 PHARMACEUTICAL GROUP); GUANGZHOU                                      :
 WANG LAO JI GREAT HEALTH ENTERPRISE                                   :
 CO., LTD.; GUANGZHOU WANGLAOJI                                        :
 HEALTH INDUSTRY CO., LTD., and TRISTAR                                :
 FOOD WHOLESALE CO. INC.,                                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiff Multi Access Limited (“Plaintiff”) moves pursuant to Federal Rule of Civil

Procedure 4(f)(3) for an order authorizing alternative service on Defendants Guangzhou Wang

Lao Ji Great Health Enterprise Development Co., Ltd. and Guangzhou Wang Lao Ji Great Health

Industry Co., Ltd. (collectively, the “Great Health Defendants”) through messages to their
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accounts on ecommerce and social media websites, emails, or notices in online publications.

Dkt. No. 159. Defendants Guangzhou Baiyunshan Pharmaceutical Holdings Co., Ltd., 1 WLJ

(America) Co. Inc., and Tristar Food Wholesale Co. Inc. respond that Plaintiff’s request is

inconsistent with recent case law. Dkt. No. 166. For the following reasons, the motion is

denied.

          Plaintiff alleges it is the successor in interest to the U.S. rights that once belonged to

several companies owned by the descendants of Wong Lo Kat (王老吉), the nineteenth-century

creator of a famous herbal tea formula. Dkt. No. 77 ¶ 18. Plaintiff claims that the Defendants in

this suit, including the Great Health Defendants, have unlawfully copied and misappropriated

Plaintiff’s trademarks, trade dress, and copyright with respect to its canned Wong Lo Kat herbal

beverage. Id. ¶ 3. According to Plaintiff, the Great Health Defendants are registered and have

their principal places of business in China. Id. ¶¶ 11, 13.

          Plaintiff’s counsel retained an international process server to effect service on the Great

Health Defendants consistent with the Convention on the Service Abroad of Judicial and

Extrajudicial Documents in Civil and Commercial Matters, November 15, 1965, 20 U.S.T. 361,

T.I.A.S. No. 6638 (the “Hague Convention” or “Convention”). Dkt. No. 161 ¶ 1. The process

server translated Plaintiff’s operative complaint, exhibits, and summonses into Simplified

Chinese and then submitted those documents to the Chinese Ministry of Justice’s International

Legal Cooperation Center for forwarding to the regional Supreme People’s Court of China and

service upon the Great Health Defendants as prescribed by Chinese law. Id. ¶¶ 5–6, 8. The

Ministry of Justice indicated on October 28, 2022 that it had forwarded Plaintiff’s materials to




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 The Court subsequently granted Defendant Guangzhou Baiyunshan Pharmaceutical Holdings
Co., Ltd.’s motion to dismiss the complaint for lack of personal jurisdiction. See Dkt. No. 167.


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the Supreme People’s Court. Id. ¶ 9. However, on May 3, 2023, the Ministry of Justice

informed Plaintiff that the Supreme People’s Court had rejected Plaintiff’s documents due to

discrepancies between the translations of the names of the Great Health Defendants into Chinese

characters. Id. ¶ 10. Plaintiff’s counsel laments that “[t]here were only minor discrepancies” in

the translations and that restarting service on the Great Health Defendants via the Hague

Convention could “take anywhere from 12 months to 24 months.” Id. ¶¶ 11–12.

       To avoid that delay, Plaintiff moves the Court to permit service through one or more of

the following methods: messaging the Great Health Defendants’ accounts on ecommerce and

social media websites, Dkt. No. 160 at ECF pp. 13–15; emailing addresses listed on those

websites, id. at ECF pp. 15–16; or issuing notices in online publications such as the People’s

Court Daily, Guangzhou Daily, or Southern Metropolis Daily, id. at ECF pp. 16–17.

       Federal Rule of Civil Procedure 4(f) sets forth three methods pursuant to which an

individual may be served outside of the United States. The Rule states:

       SERVING AN INDIVIDUAL IN A FOREIGN COUNTRY. Unless federal law provides
       otherwise, an individual—other than a minor, an incompetent person, or a person whose
       waiver has been filed—may be served at a place not within any judicial district of the
       United States:

             (1) by any internationally agreed means of service that is reasonably calculated to
           give notice, such as those authorized by the Hague Convention on the Service
           Abroad of Judicial and Extrajudicial Documents;

             (2) if there is no internationally agreed means, or if an international agreement
           allows but does not specify other means, by a method that is reasonably calculated to
           give notice:

                 (A) as prescribed by the foreign country’s law for service in that country in an
               action in its courts of general jurisdiction;

                 (B) as the foreign authority directs in response to a letter rogatory or letter of
               request; or

                 (C) unless prohibited by the foreign country’s law, by:



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                     (i) delivering a copy of the summons and of the complaint to the individual
                   personally; or

                     (ii) using any form of mail that the clerk addresses and sends to the
                   individual and that requires a signed receipt; or

             (3) by other means not prohibited by international agreement, as the court orders.

Fed. R. Civ. P. 4(f). For foreign corporations, Rule 4(h)(2) provides that “[u]nless federal law

provides otherwise or the defendant’s waiver has been filed” service must be effected “in any

manner prescribed by Rule 4(f) for serving an individual, except personal delivery under

(f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2).

       “Service pursuant to subsection (3) is neither a last resort nor extraordinary relief. It is

merely one means among several which enables service of process on an international

defendant.” Ctr. Way Co. Ltd. v. Ningbo Wolfthon Tech. Co., 2022 WL 19003380, at *1

(S.D.N.Y. Nov. 9, 2022) (quoting Prediction Co. LLC v. Rajgarhia, 2010 WL 1050307, at *1

(S.D.N.Y. Mar. 22, 2010)). “Under Federal Rule of Civil Procedure 4(f)(3), ‘a Court may

fashion means of service on an individual in a foreign country, so long as the ordered means of

service (1) is not prohibited by international agreement; and (2) comports with constitutional

notions of due process.’” F.T.C. v. Pecon Software Ltd., 2013 WL 4016272, at *3 (S.D.N.Y.

Aug. 7, 2013) (quoting S.E.C. v. Anticevic, 2009 WL 361739, at *3 (S.D.N.Y. Feb. 13, 2009)).

       Both the United States and China are signatories to the Hague Convention and

“compliance with the Convention is mandatory in all cases to which it applies.” Ctr. Way Co.

Ltd., 2022 WL 19003380, at *1 (quoting Smart Study Co. v. Acuteye-US, 2022 WL 2872297, at

*4 (S.D.N.Y. July 21, 2022)). While there is a division of judicial authority on whether the




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Hague Convention forbids service via online methods not specified in the Convention, 2 the

undersigned agrees with the courts that have held that the Convention prohibits those means of

service. See Cawthon v. Zhousunyijie, 22-cv-3021 (LJL), slip op. at 6 (S.D.N.Y. Jan. 13, 2023).

That is so because the Hague Convention “specifies certain approved methods of service and

‘preempts inconsistent methods of service’ wherever it applies.” Water Splash, Inc. v. Menon,

581 U.S. 271, 273 (2017) (quoting Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694,

698 (1988)); see also Smart Study, 2022 WL 2872297, at *7 (“As numerous courts have

recognized, binding Supreme Court precedent indicates that the Hague Convention outlines

specific methods of service, and that methods of service that are not specifically authorized are

impermissible under the Convention.”); Facebook, Inc. v. 9 Xiu Network (Shenzhen) Tech. Co.,

480 F. Supp. 3d 977, 983 (N.D. Cal. 2020).

       Article 1 of the Hague Convention “appl[ies] in all cases, in civil or commercial matters,

where there is occasion to transmit a judicial or extrajudicial document for service abroad.” 20

U.S.T. at 362. The Convention obligates “each state to establish a central authority to receive

requests for service of documents from other countries. Once a central authority receives a

request in the proper form, it must serve the documents by a method prescribed by the internal

law of the receiving state or by a method designated by the requester and compatible with that

law.” Schlunk, 486 U.S. at 699. Additionally, the Convention “permits alternative methods of

service unless the receiving country objects,” including “service by diplomatic and consular

agents, service through consular channels, service on judicial officers in the receiving country,

and direct service ‘by postal channels.’” Smart Study, 2022 WL 2872297, at *7 (quoting



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 Compare Smart Study, 2022 WL 2872297, at *5, and Kelly Toys Holdings, LLC. v. Top Dep’t
Store, 2022 WL 3701216, at *6 (S.D.N.Y. Aug. 26, 2022), with Equipav S.A. Pavimentacao,
Engenharia e Comercia Ltda. v. Bertin, 2022 WL 2758417, at *3 (S.D.N.Y. July 14, 2022).

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Facebook, 480 F. Supp. 3d at 980). Countries can also “designate additional methods of service

within their borders, either unilaterally or through side agreements with each other.” Facebook,

480 F. Supp. 3d at 980.

       “China has objected to most of these alternative methods of service, including service by

postal channels.” Cawthon, 22-cv-3021, slip op. at 7 (quoting Facebook, 480 F. Supp. 3d at

980); see China—Central Authority & Practical Information, Hague Conf. on Priv. Int’l L. (last

visited Aug. 29, 2023)), https://www.hcch.net/en/states/en/states/authorites/details3/

?aid=243. Service via website messaging, email, or online publication is equally impermissible

because “[t]he Convention-delineated methods of service (along with the methods that countries

unilaterally and bilaterally agree to under Articles 11 and 19) are exclusive.” Facebook, 480 F.

Supp. 3d at 984. Otherwise, Articles 11 and 19 of the Convention—which permit countries to

allow additional methods of service from abroad by agreement or internal law—would be

“largely superfluous.” Smart Study, 2022 WL 2872297, at *8. Because China has not

authorized service via ecommerce or social media websites, emails, or notices in online

publications, Plaintiff cannot avail itself of those methods to serve the Great Health Defendants.

       Plaintiff asserts that the Great Health Defendants are already aware of this lawsuit, so

“the purpose of the service requirement [is] accomplished.” Dkt. No. 171 at ECF p. 7 (alteration

in original) (quoting Convergen Energy LLC v. Brooks, 2020 WL 4038353, at *5 (S.D.N.Y. July

17, 2020)). “But courts have ‘requir[ed] service anew, even if a defendant has notice of the

pendency of the action,’ and this Court has a similar responsibility to ensure that any alternative

method of service that is ordered provides a defendant with formal notice and thus comports with

constitutional due process.” Convergen Energy LLC, 2020 WL 4038353, at *5 (alteration in




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original) (quoting Arista Records LLC v. Media Servs. LLC, 2008 WL 563470, at *2 (S.D.N.Y.

Feb. 25, 2008)).

        Finally, Plaintiff seeks to analogize to Montano v. Herrera, in which the court permitted

service by email on a defendant located in Venezuela. 2023 WL 2644340, at *3 (S.D.N.Y. Mar.

27, 2023). Like Plaintiff here, the plaintiff in Montano attempted to transmit the complaint and

summons to a foreign central authority pursuant to the Hague Convention. See id. at *2.

However, the Venezuelan central authority thwarted plaintiff’s efforts by “simply refus[ing] to

accept the package.” Id. The Montano court therefore concluded that requiring the plaintiff to

comply with the Hague Convention “would be futile” as it “would leave [p]laintiff with no

recourse.” Id. By contrast, the Chinese Ministry of Justice accepted Plaintiff’s documents and

submitted them to the regional Supreme People’s Court. Dkt. No. 161 ¶ 9. The Supreme

People’s Court rejected them due to translation discrepancies that Plaintiff’s counsel concedes

were in those documents. Id. ¶¶ 10, 11. Restarting service on the Great Health Defendants in

accordance with the exclusive methods set forth in the Hague Convention may result in

unfortunate delay, see id. at ¶ 12, but that concern is a far cry from the futility that justified

service by email in Montano, see 2023 WL 2644340, at *2.

        Plaintiff’s motion for an order permitting alternative service upon the Great Health

Defendants is DENIED.



        SO ORDERED.


Dated: August 30, 2023                                 __________________________________
       New York, New York                                         LEWIS J. LIMAN
                                                              United States District Judge




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